UNITED STATES DISTRICT COURT
WESTEAN DISTRICT OF VIAGINIA

Vincent Weedhouse COMPLAINT

Plaintiff civil Action No. L2OULSS
Vv.
Major King, Joseph Ely, CLERK'S OFFICE U 8, DIST. COURT
Unit Manager Stallard, arn een
Tndividually and in their NOV 66 2020
official Capaci Lies, & A eesan
Defendants :

I. JUAISDICTION& VENUE
. This tsa civil action authorized by 42 U.S.C. Section 1983
to redress the deprivation, under Color of slate law, of rights
Seeured by the Constitution of the United States. The court
has jurisdiction under 28 U.S.C. Seetion 1331 and 1343 (a)(3),
Plaints ft sub declare tery relief pursiant to 23 U.S.C Section
2201 and 2202. Plaintiff claims f,, inyunclive relief are audh-
orizedl by 28 U.S.C. Section 2383 & Ia84 and Rule 65 of the
Federal Aules of Civil Proeedwe.

2. The Western district of Virgins is an appropriate Venue
under 28 U.S.C section 1391 Cb)C2Z) because itis where
the events given rise te this Claim eceurred.
Tl. PLAINTIFF

3, Plaintiff Vineent lamont Woodhouse LS and was at all
times mentiened herecn 2 prisoner of the State of Virginia
in the eustody of the Virginia Department of Corrections.
He cs currently contined in Wallens ude State Prison, in
big Stone Gap » Virginca.

TI. DEFENDANTS

+ Defendant Major Hing is the Major of Wallens Bid
State Prison. Major hung is 3 member of the Multi- iscipl-
(nary team< MDT), The MDT are res pensible te review
oftenders in resbrictive housing and make decisions for housing
Status.

5. Defendant Joseph Ely is the Unit Manager of the

Aeskrietive housing unit at Wallens udlge oO ate prison.

Defendent Ely & also ¢ member of the Multi- Discipl-
CwoT)

inary team.

b. Defendant Unit Manager Stallard is the Uunt Maneger
of A building at Wallens Ridge State prison. Defends?
Stallard is sl a member of the Muli - Disciplinary
team. (MDT)

1, Each defendant (s sued individually and in his
official copacily. Each Defendant acled under color
of Stake law.

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III FACTS

g. VADOC Speecal gang invest gabor Mr. Craig Arms tssued

a report that releasin plaintiff inte the general populatin
in the Virginia Department of Corrections cs not advised
because Plainliff has been labeled a snitch. And to ensure
the plaintiffs safety, Lhe Plaintift Should be housed én

protective custody. see exhibit A

4. Despite Mr. Arms recommendations | he Multi Disei-
plinary Team released plaintiff ints Wallen Aidge
State Prisons Ceneral pepwlation. IT was housed in
A4, The MDT egnored Me Arms report.

lo. On June 24th 2020 LT was invelved in a argument
with Offender Anwar Phillips , after Offender phillips
accused me of being a snitch. Offender phillips and the
plaintiff were both restrained and removed from Ad

and placed in the Restrictive Housing Unit Cthe hole).

UN. Ox Tune AYth 2020 effender Anwar Phulli ps was charged
with Threakening bedily harm to the plaintiff, and was
found guilty.

12. July of 2020 The Multi- Diseiplinary team cleeided
te put Anwar phillips and the plaintiff back in
Ad general population housing act.
13, After the Mor meeting Majer hing did a round
ups Lairs ther clownstairs and when he Finally got to my
door, He Stated Im sendin you and phillips back te Ax
for round two.’ He then Taped and walked away,

It, After returning te At, Unct Manager Stallard called me
out of my cell. L was housed in A4iZ, Unid Manager Stallard
then Slated “yout and phillips betler learn how to gel along,
I dont want no shit out of yall again’ T then returned ts
my cell.

5. On August I7£k 2020 durin ped recreation in A¥
OFfender Anwar phillips pinched ee repeatedly ia my Face
with closed Figts, while LT was listening to my headphones
and drinking coffee. T was Mnoeked unconcisus, when L
regained Consciousness T was on the Fleor wilh blood
everywhere. My upper lip was spht in halt and my left
eyebrow was split in half. T was taken to medical
where L recieved stitches above my eye and above my
lip. L now have Z permanent SCArs 6n my face one
abn my eye and lip. LT now sufler from headaches

parandra and blurred Vision,
IW LEGAL CLAIMS

16. Plaintiff reallege and incorporate by reference
Paragraphs 1-15.

IZ The deliberate indifference te plaintiffs safely violated
Plaintiffs rights and constituted Cruel and Unusual punish -

ment$ under the Eighth Amendment te the Unided States
Cons Li buf iol.

(8 The Plaintiff has no plan, adequate or complete remedy
‘at law to redress the wrongs cleseribed herein, P laindiff
has been and will continue te be inreparably in| ured by the
Conducts of the clefendants unless Lhis court grants the
declalery and inyjunelive relief which plaintift Seeks.

VW AELIEF
Wherefore, Plaintiff respeettully request that this
Court enler judgement ree hing plain Lif,

9A declaration that Lhe acts and emissions leseribed
heran violated plaintiffs rights under the Conslilulion
and laws of the United Stales.

20. A Permanent injunction ordering defendants to stop housin

Plaintiff in General population d to house plaialiff in
the VApot protec live custody Unit en Single cell Status,

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Al. Compensatory damages in the amount of § 80,000. 00
against each defendant, jounlly and severally,

22. Punitive damages in the amount of #100, 000. 00
against each de endant.

23. A jury trial on all csswes triable by jury:
24, Plaintiffs costs in this sult.

25. Any add tional relief Lhis courk cleems just proper
and equitable.

VW Evhaustion of Legal Aemedies

Ab Grievance WRSP-20- REG 00356 was appealed te
the highest level available. T have exhausted all administra tive
remedies. See Exhibits B and C atbached te compliant

VERIFICATION

L have read the fore gin complaint and hereby Verity
that the matters alley Hen, are true, T aubily

under penalty that Lhe Foregosn 1s bre and ¢orrecl.

Executed Gig Stone Gap, ta on 10/27/20

thindinl Dyan tomato
Vincent Woeel house
b
Lawl Latta 104/027
beh wt Kite Llale gun
Li. Bax. L259

Oop lees Xl, Lit aLt/ 7

ie hd Nala Liahuite Coat

Ect Lit mabe £77. 3 #0
Ke angle , YA v0

